         Case 1:15-cr-00062-SPW Document 125 Filed 11/04/21 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                                BILLINGS DIVISION


  UNITED STATES OF AMERICA,
                                                    CR 15-62-BLG-SPW
                        Plaintiff,

  vs.                                                ORDER


 LEON SEMINOLE,

                        Defendant.

        Upon the Defendant's Motion to Terminate Supervised Release(Doc. 123),

pursuant to 18 U.S.C. § 3583(e)(1) and Fed. R. Crim. P. 32.1(c)(2), and good cause

being shown,

        IT IS HEREBY ORDERED that the Defendant's motion is GRANTED.


Leon Seminole's supervised release is terminated as ofthe date of this Order.

        The Clerk shall forthwith notify the parties and the U.S. Probation Office of

the making of this Order.

        DATED this JS day of November, 2021.

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                                              SUSAN P. WATTERS
                                              United States District Judge
